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                                                                       #: 1
                                                                                       CLERK
                                                                                     December 18, 2023

MRM:AB                                                                          U.S. DISTRICT COURT
                                                                           EASTERN DISTRICT OF NEW YORK
UNITED STATES DISTRICT COURT                                                    LONG ISLAND OFFICE
EASTERN DISTRICT OF NEW YORK
-------- -------- --X
UNITED STATES OF AMERICA
                                                          COMPLAINT
       - against -
                                                          23-MJ-01122 (JMW)
DOUGLAS ENGSTROM,
                                                          (18 U.S.C. § 2422(b))
                      Defendant.

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EASTERN DISTRICT OF NEW YORK, SS:

              COLLEEN SHEEHAN, being duly sworn, deposes and states that she is a

Special Agent with the Federal Bureau of Investigation ("FBI"), duly appointed according to

law and acting as such.

              On or about December 16, 2023, within the Eastern District of New York and

elsewhere, the defendant DOUGLAS ENGSTROM, using one or more facilities and means of

interstate and foreign commerce, to wit: the internet and mobile internet applications, did

knowingly and intentionally attempt to persuade, induce, entice and coerce an individual who

he believed had not attained the age of 18 years to engage in sexual activity for which a person

could be charged with criminal offenses, to wit: criminal sexual act in the second degree, in

violation of New York Penal Law Section 130.45(1).

              (Title 18, United States Code, Section 2422(b))
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               The source of your deponent' s information and the grounds for her belief are as

follows:

        1.     I have been a Special Agent with the FBI since March 2018 and am currently

assigned to the Crime Against Children and Human Trafficking Unit (the "Task Force"). I have

been a member of the Task Force for approximately two years. As a member of the Task Force,

I investigate violations of criminal law relating to the sexual exploitation of children. During

my tenure with the FBI, I have participated in numerous criminal investigations, as well as the

execution of search warrants and arrest warrants in connection with those investigations.

        2.      I am familiar with the facts and circumstances set forth below based on my own

personal participation in the investigation, my review of the investigative file, and discussions

I have had with other law enforcement personnel involved in the investigation. 1 Statements

attributable to individuals herein are set forth in sum and substance and in part.

        3.     On or about December 6, 2023, I posed undercover as a 13-year old girl on the

mobile messaging application Whisper. 2 An individual with the usemame "bleepbloorp"

contacted me on the application in response to a post in which I claimed to no longer need

dental braces. I represented in multiple messages with the bleepbloorp account that I was a 13-

year old girl in school. During messaging, the user of the bleepbloorp account represented to

me that he was named Doug, that he was 36 years old, that he lived in Maryland, and that he

worked for the United States Navy.


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  Because this affidavit is being submitted for the limited purpose of establishing probable cause
to arrest, I have not set forth every fact learned during the course of this investigation.
2 Whisper is a free instant messaging mobile application ("app") developed by WhisperText

LLC. Through the Whisper app, users can anonymously transmit and receive messages, photos,
videos, and other content, both publicly or privately to a specific user.
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       4.        The user of the bleepbloorp account expressed interest in engaging in sexual

conduct with me. While the user of the bleepbloorp account first made these statements on the

Whisper app, he later provided me with a cell phone number and continued making similar

statements to me via text message. In text messages, he expressed interest in having oral, anal,

and vaginal sex with me, including while I was unconscious.

       5.        Based on information associated with the cell phone number provided by the user

bleepbloorp, as well as facial photographs sent by that user, law enforcement agents determined

that the user of the bleepbloorp account was the defendant DOUGLAS ENGSTROM, a 36-year

old male residing in Mary land.

       6.     In conversations with DOUGLAS ENGSTROM, I represented that I lived in

Valley Stream, New York. ENGSTROM expressed interest in visiting me in Valley Stream on

December 16, 2023 to engage in the sexual conduct described above. On or about December

14, 2023, ENGSTROM informed me that he had booked a hotel and flight tickets for that

purpose.

       7.     Law enforcement officers used the information provided to me by DOUGLAS

ENGSTROM to determine the flight by which he would arrive at John F. Kennedy International

Airport. When ENGSTROM arrived at the airport, law enforcement officers determined that

his appearance matched the appearance of the individual depicted in the photographs sent by

the user of the bleepbloorp Whisper account.         Law enforcement agents then surveilled

ENGSTROM at the airport until he departed in an Uber. ENGSTROM text messaged me from

the Uber and informed me that he would meet me at the Long Island Railroad train station at

Valley Stream.

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        8.    Law enforcement officers arrested ENGSTROM shortly after he arrived at the

Valley Stream train station as agreed upon. During the arrest, officers recovered a large teddy

bear that I had asked ENGSTROM to bring in a text message sent on or about December 15,

2023.

              WHEREFORE, your deponent respectfully requests that the defendant

DOUGLAS ENGSTROM be dealt with according to law.



                                           COLLEEN SHEEHAN
                                           Special Agent
                                           Federal Bureau of Investigation

Sworn to before me this
18th day of December, 2023 A
      I°"-              A II
     /s/: James M. Wicks
THE                        . WICKS
UNI                         TE JUDGE
EAS L.A'U.'VLJ TRICT OF NEW YORK




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